    Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 1 of 38



                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS

JOHN DOE,                                    :
                                             :   Civil Action No:
                                             :
                   Plaintiff,                :
                                             :
                                             :
            -against-                        :
                                             :
                                             :
TRUSTEES OF BOSTON COLLEGE,                  :
                                             :
                                             :
                   Defendants.               :




       PLAINTIFF JOHN DOE’S MEMORANDUM OF LAW IN SUPPORT
    OF PLAINTIFF’S MOTION FOR A TEMPORARY RESTRAINING ORDER
                AND A PRELIMINARY INJUNCTION AND
              REQUEST FOR EXPEDITED CONSIDERATION




                         NESENOFF & MILTENBERG, LLP
                           Attorneys for Plaintiff John Doe
                           363 Seventh Avenue, Fifth Floor
                             New York, New York 10001
                                   (212) 736-4500
          Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 2 of 38



                                                   TABLE OF CONTENTS
                                                                                                                             Page

TABLE OF AUTHORITIES ......................................................................................... iii-vi

PRELIMINARY STATEMENT .........................................................................................1

STATEMENT OF FACTS ..................................................................................................2

ARGUMENT .......................................................................................................................2

          I. THE REQUESTED TEMPORARY RESTRAINING ORDER AND
             PRELIMINARY INJUNCTION IS PROPER UNDER THE LAW ...................2

          II. APPLICATION OF THE FOUR-PRONG TEST FOR PRELIMINARY
             INJUNCTIVE RELIEF ESTABLISHES THAT A TEMPORARY
             RETRAINING ORDER AND PRELIMINARY INJUNCTION SHOULD BE
             GRANTED ..........................................................................................................4

                     A. Plaintiff Will Suffer Irreparable Injury if the Requested Relief is Not
                        Granted ....................................................................................................4

                     B. Plaintiff is Likely to Succeed on the Merits of his Claims......................6

                                1) Title IX-Erroneous Outcome .......................................................6

                                2) Breach of Contract ....................................................................10

                                           a. Failure to provide fundamental fairness........................12

                                           b. Failure to conduct a thorough and impartial
                                             investigation ....................................................................13

                                           c. Incorrect application of the relevant standard of
                                             review ..............................................................................14

                                           d. Violation of Confidentiality............................................16

                                           e. Breach of the obligation to presume Doe innocent of the
                                            charges and assign the burden of proof to the
                                            University ..........................................................................17

                                           f. The Investigators failed to complete the investigation
                                             within 60 days ..................................................................17

                                3) Breach of Contract/Common Law Denial of Basic Fairness ....18

                                                                      i
          Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 3 of 38



                                          a) Failure to provide proper notice of the charges............20

                                          b) Depriving Doe of an opportunity to confront or
                                            cross-examine his accuser ..............................................22

                                          c) Depriving Doe of an opportunity to cross-examine
                                            witnesses .........................................................................23

                                          d) Failure to provide Doe access to all evidence
                                            collected ..........................................................................23

                                          e) Denial of the right to an effective appeal ......................24

                                          f) Failure to separate the investigation and adjudication
                                            process .............................................................................25

                               4) Estoppel .....................................................................................26

                               5) Negligence .................................................................................26

                     C. The Balance Of Hardships Tips Decidedly In Plaintiff’s Favor ...........28

                     D. The Requested Injunction Is In The Public Interest ..............................29

CONCLUSION ..................................................................................................................30

REQUEST FOR EVIDENTIARY HEARING ..................................................................30




                                                                    ii
          Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 4 of 38



                                               TABLE OF AUTHORITIES

Cases                                                                                                                     Page

Boutilier v. John Alden Life Ins. Co.,
        2000 WL 1752623 (D. Mass. Sept. 29, 2000) .......................................................27

Bulwer v. Mount Auburn Hosp.,
      473 Mass. 672 (2016) ............................................................................................10

Burns v. Quinnipiac University,
       120 Conn. App. 311 (2010) ...................................................................................10

Cloud v. Trustees of Boston University,
       720 F.2d 721 ..........................................................................................................19

Collick v. William Paterson Univ.,
       2016 WL 6824374 (D.N.J. Nov. 17, 2016) ...........................................................12

Coveney v. President & Trustees of Holy Cross College,
      445 N.E.2d 136 (1983)...........................................................................................19

Davis v. Monroe Bd. Of Education,
       526 U.S. 629 (1999) .................................................................................................6

Doe v. Allee,
       30 Cal. App. 5th 1036 (Ct. App. 2019) ..................................................................19

Doe v. Amherst College,
       238 F.Supp.3d 195 (D. Mass. 2017) ......................................................................11

Doe v. Baum,
       903 F.3d 575 (6th Cir. 2018) ................................................................................4,7

Doe v. Brandeis Univ.,
       177 F.Supp.3d 561 (D. Mass. 2016) .............................................................. Passim

Doe v. Brown Univ.,
       166 F.Supp.3d 177 (D.R.I. 2016) ..........................................................................11

Doe v. Brown Univ.,
       2010 F. Supp. 3d 310 (D.R.I. 2016).........................................................................3


Doe v. Emerson Coll.,
       153 F. Supp. 3d 506 (D. Mass. 2015) ....................................................................27

                                                                   iii
          Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 5 of 38



Doe v. Lynn Univ., Inc.,
       235 F.Supp.3d 1336 (S.D. Fla. 2017) ....................................................................12

Doe v. Marymount Univ.,
       297 F.Supp.3d 585 ...................................................................................................8

Doe v. Miami Univ.,
       882 F.3d 579 (6th Cir. 2018) ...................................................................................8

Doe v. Middlebury,
       2015 WL 5488109 ...................................................................................................5

Doe v. Pennsylvania State Univ.,
       2017 WL 3581672 (M.D. Pa. Aug. 18, 2017) .........................................................3

Doe v. Syracuse Univ.,
       2019 WL 2021026 (N.D.N.Y. May 8, 2019) .........................................................12

Doe v. Trustees of Bos. Coll.,
       892 F.3d (1st Cir. 2018) .........................................................................................11

Doe v. University of Cincinnati,
       223 F. Supp.3d 704 (S.D. Ohio 2016) .....................................................................3

Doe v. Univ. of Michigan,
       325 F. Supp. 3d 821 (E.D. Mich. 2018)................................................................3,4

Doe v. Univ. of Notre Dame,
       2017 WL 1836939 (N.D. Ind. May 8, 2017) ...........................................................3

Donohue v. Baker,
      976 F.Supp. 136 (N.D.N.Y. 1997) .........................................................................22

Goss v. Lopez,
       419 U.S. 565 (1975) ...............................................................................................20

Havlik v. Johnson & Wales Univ.,
       509 F.3d 25 (1st Cir. 2007) ....................................................................................11

Johnson v. Schmitz,
      119 F. Supp.2d 90 (D. Conn. 2000) .......................................................................11

King v. DePauw University,
       2014 WL 4197507 (S.D. Ind. Aug. 22, 2014) ....................................................5,29

LaForest v. Former Clean Air Holding Co.,
      376 F.3d 48 (2d Cir. 2004).......................................................................................4
                                                                  iv
          Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 6 of 38




LaRouche v. Kezer,
      20 F.3d 68 (2d Cir. 1994).........................................................................................3

Maczaczyj v. State of N.Y.,
      956 F. Supp. 403 (W.D. N.Y. 1997) ........................................................................6

Mangla v. Brown Univ.,
      135 F.3d 80 (1st Cir. 1998) ....................................................................................10

Naumov v. McDaniel College, Inc.,
     2017 WL 1214406 (D. Md. Mar. 31, 2017)...........................................................12

Nokes v. Miami Univ.,
       2017 WL 3674910 (S.D. Ohio Aug. 25, 2017)........................................................3

Norris v. Univ. of Colorado, Boulder,
       362 F. Supp. 3d 1001 (D. Colo. 2019) .....................................................................8

O Centro Espirita Beneficiente Uniao Do Vegetal v. Ashcroft,
      389 F.3d 973 (10th Cir. 2004) .................................................................................3

Phillip v. Fairfield University,
        118 F.3d 131 (2d Cir. 1997).....................................................................................3

Phillip v. Nat’l Collegiate Athletic Ass’n,
        960 F. Supp. 552 (D. Conn. 1997) ...........................................................................5

Reuters Ltd v. United Press International, Inc.,
       903 F.2d 904 (2d Cir. 1990).....................................................................................2

Ritter v. Oklahoma,
        2016 WL 2659620 (W.D. Okla. May 6, 2016) ........................................................3

Ross v. Creighton University,
        957 F.2d 410 (7th Cir. 1992) .................................................................................10

Schaer v. Brandeis University,
       432 Mass. 474 (2000) .................................................................................... Passim

Shurtleff v. City of Bos.,
       2019 WL 2635622 (1st Cir. June 27, 2019) .............................................................2


Travelers Casualty & Surety Co. of America v. The Netherlands Ins. Co.,
       312 Conn. 714 (2014) ............................................................................................11

                                                                 v
         Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 7 of 38



Univ. of Cincinnati,
       872 F.3d 393 (6th Cir. 2017) .................................................................................23

Viken Detection Corp. v. Videray Techs. Inc.,
       No2019 WL 2491618 (D. Mass. June 14, 2019) ................................................2,10

Winnick v. Manning,
      460 F.2d 545 (2f Cir. 1972) ...................................................................................23

Wisdom Import Sales Co., LLC v. Labatt Brewing Co., Ltd.,
      339 F.3d 101 (2d Cir. 2009).....................................................................................4

Yusuf v. Vassar College,
       35 F.3d 709 (2d Cir. 1994).................................................................................6,7,8

Statutes

3 Wigmore, Evidence § 1367, p. 27 (2d ed. 1923) ............................................................22

Other Authorities

Nancy Gertner, Complicated Process, 125 Yale L.J. Forum 442 (2106) ..........................30




                                                               vi
        Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 8 of 38



                                   PRELIMINARY STATEMENT

        Plaintiff John Doe (a pseudonym) (“Plaintiff” or “Doe”), a male student expecting to begin his

            at Boston College on August 26, 2019 and a

     , hereby moves, pursuant to Fed. R. Civ. P. 65(a), for a temporary restraining order and a

preliminary injunction enjoining Defendants Trustees of Boston College (“BC” or the “College”)

from enforcing Plaintiff’s one-year suspension. In December 2018, fellow BC student Jane Roe filed

a complaint alleging Doe sexually assaulted her while she was incapacitated, on November 4, 2018.

After the College completed its investigation, Doe was cleared of the charge alleging Roe was

unable to consent due to incapacitation, finding he “neither knew, nor reasonably should have

known, that [Roe] was incapacitated by alcohol during his sexual interaction with her.”

Nonetheless, the Investigators abandoned the theory they had initially charged him with and

instead found Doe responsible for non-consensual sexual contact, an allegation that was not

supported by sufficient evidence. On June 18, 2019, Plaintiff was issued a suspension from the College,

which banned him from the campus for the fall semester of 2019 and spring semester of 2020. The

decision was upheld when Doe’s appeal was denied, on July 24, 2019.

        In addition to delaying his academic progress and expected graduation date, the suspension will

have the effect of preventing Plaintiff, a                                              , from remaining

on the BC                 , thus eliminating his                    and destroying his chances of

                                  . Given the university appeal was denied on July 24, 2019, Plaintiff

respectfully makes application for a temporary restraining order and a preliminary injunction that

will allow him to resume his studies and remain on BC’s                    forthwith.

        In a Complaint filed in this Court on July 29, 2019, Plaintiff sets forth in detail how BC

engaged in Title IX prohibited sex discrimination, violated Plaintiff’s contract with BC, and

deprived Doe of his fundamental right to a fair process when it erroneously found Plaintiff
                                                   1
        Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 9 of 38



responsible for “Sexual Assault” despite the breadth of evidence establishing that the encounter

was consensual. The College unjustly sanctioned Plaintiff, a                , with undue severity in

order to demonstrate its aggressive stance against male perpetrators of sexual assault. As shown

herein, Plaintiff meets the requirements for a temporary restraining order and a preliminary

injunction: irreparable injury, a substantial likelihood of success on the merits, balance of

hardships tipping decidedly in Plaintiff’s favor and the public interest.

                                    STATEMENT OF FACTS

        For a detailed recitation of the facts, see Plaintiff’s Complaint dated July 29, 2019 and

Plaintiff John Doe’s Declaration in Support of Motion for Temporary Restraining Order and a

Preliminary Injunction dated July 26, 2019.

                                           ARGUMENT

   I.      THE REQUESTED TEMPORARY RESTRAINING ORDER AND
           PRELIMINARY INJUNCTION IS PROPER UNDER THE LAW

        Plaintiff’s motion for a temporary restraining order and preliminary injunction should be

granted because, as will be discussed herein, Plaintiff satisfies the four elements for obtaining a

temporary restraining order and preliminary injunction: (1) a likelihood of irreparable injury; (2) a

likelihood of success on the merits; (3) the balance of hardships tips in the moving party’s favor;

and (4) the requested injunction is in the public interest. Shurtleff v. City of Bos., 2019 WL 2635622,

at *3 (1st Cir. June 27, 2019). “Out of these factors, the likelihood of success on the merits normally

weighs heaviest in the decisional scales.” Viken Detection Corp. v. Videray Techs. Inc., No2019

WL 2491618, at *6 (D. Mass. June 14, 2019) (internal citations omitted).

        A preliminary injunction, while considered an extraordinary remedy, should be issued when

necessary to preserve the status quo pending final outcome of a case. Reuters Ltd v. United Press

International, Inc., 903 F.2d 904, 909 (2d Cir. 1990). (“[F]or purposes of a preliminary injunction,

                                                  2
       Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 10 of 38



the status quo is ‘the situation that existed between the parties immediately prior to the events that

precipitated the dispute.’”) The “‘status quo’ does not mean the situation existing at the moment

the law suit is filed, but the ‘last peaceable uncontested status existing between the parties before

the dispute developed.’” O Centro Espirita Beneficiente Uniao Do Vegetal v. Ashcroft, 389 F.3d

973, 1013 (10th Cir. 2004) (additional citations omitted). See also LaRouche v. Kezer, 20 F.3d 68,

74 n.7 (2d Cir. 1994) (same); Phillip v. Fairfield University, 118 F.3d 131, 133-134 (2d Cir. 1997).

The temporary restraining order and preliminary injunction that Plaintiff seeks here preserves the

status quo of his being a student at Boston College.

       In a number of recent cases, federal courts have granted the kind of injunctive relief sought

here prohibiting schools from implementing discipline against students accused of sexual assault:

See Doe v. Univ. of Michigan, 325 F. Supp. 3d 821 (E.D. Mich. 2018) (preliminary injunction

granted where student accused of sexual assault established likelihood of success on merits of his

claim that university’s sexual misconduct policy, which afforded neither a live hearing nor cross-

examination, violated his right to due process, and demonstrated irreparable harm because

expulsion could drastically curtail future educational and employment opportunities, for which

money damages could not compensate student.); Nokes v. Miami Univ., 2017 WL 3674910 (S.D.

Ohio Aug. 25, 2017) (preliminary injunction granted prohibiting university from suspending

student who alleged that the school had acted in violation of his constitutional due process rights

to notice and confrontation of adverse witnesses); Doe v. Pennsylvania State Univ., 2017 WL

3581672 (M.D. Pa. Aug. 18, 2017) (granting preliminary injunction to student who alleged that

school acted in violation of his due process right to confrontation in disciplinary proceedings). See

also Doe v. University of Cincinnati, 223 F. Supp.3d 704 (S.D. Ohio 2016); Doe v. Brown Univ.,

210 F. Supp. 3d 310, 313 (D.R.I. 2016); Doe v. Univ. of Notre Dame, 2017 WL 1836939, (N.D.

Ind. May 8, 2017); Ritter v. Oklahoma, 2016 WL 2659620 (W.D. Okla. May 6, 2016).
                                             3
       Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 11 of 38



II.    APPLICATION OF THE FOUR-PRONG TEST FOR PRELIMINARY
       INJUNCTIVE RELIEF ESTABLISHES THAT A TEMPORARY RESTRAINING
       ORDER AND PRELIMINARY INJUNCTION SHOULD BE GRANTED

       Application of the four-prong test for preliminary injunctive relief establishes that the

requested temporary restraining order and preliminary injunction should be granted.

       A.      Plaintiff Will Suffer Irreparable Injury if the Requested Relief is Not Granted.

       Plaintiff satisfies the first prong for a preliminary injunction, which is that he will suffer

irreparable injury if the requested relief is not granted, and the suspension is immediately enforced.

To make a showing of irreparable harm, the moving party must establish that he is subject to a

continuing harm that cannot be adequately addressed by final relief on the merits and for which

money damages are inadequate. See LaForest v. Former Clean Air Holding Co., 376 F.3d 48, 56

(2d Cir. 2004); Wisdom Import Sales Co., LLC v. Labatt Brewing Co., Ltd., 339 F.3d 101, 113-114

(2d Cir. 2003). In the context of a university disciplinary proceeding, various courts have

recognized that “[b]eing labeled a sex offender by a university has both an immediate and lasting

impact on a student’s life.” Doe v. Baum, 903 F.3d 575, 582 (6th Cir. 2018). Further, where a

plaintiff’s “constitutional right to due process is ‘threatened or impaired’ the Court may presume

irreparable injury.” Doe v. Univ. of Michigan, 325 F.Supp. 3d 821, 829 (E.D. Mich. 2018).

       Plaintiff readily makes such a showing here. As of the time of his suspension, Plaintiff was

expecting to begin his             , in August of 2019. Without injunctive relief, Plaintiff will lose

an entire academic year, delaying his anticipated graduation date and postponing his ability to earn

an income. He will also be unable to secure employment or obtain admission to a graduate school

in the future, as his transcript will be permanently marked with a notation of the disciplinary

suspension. Further, Plaintiff will continue to suffer emotional and psychological damage as he has

been branded -- unjustifiably -- a sexual predator.


                                                  4
         Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 12 of 38



         In addition to the damages Doe will suffer as a result of the permanent disciplinary notation

on his academic record, Doe will also suffer immense irreparable harm with respect to his

                            .

                                ,

                                    ,

     ,



                                                        .



     ,

                                                                ,

                           .1

         For these losses, money damages cannot make him whole. See, e.g., Doe v. Middlebury,

supra, No. 1:15-cv-192-jgm, 2015 WL 5488109, 2015 U.S. Dist. LEXIS 124540 (while plaintiff

may recover money damages to compensate for lost wages, money damages cannot compensate

him for loss of his senior year in college with his class, the delay in completing his degree, or the

opportunity to begin his future career upon graduation); King v. DePauw University, 2014 WL

4197507 (S.D. Ind. Aug. 22, 2014) (if plaintiff not permitted to complete studies, he will forever

have either a gap or senior-year transfer on his record, which he will have to explain to future

employers or graduate school admissions committees by revealing sexual misconduct finding, and

money damages would not provide adequate remedy); Phillip v. Nat’l Collegiate Athletic Ass’n,



1
  Plaintiff refers the Court to John Doe’s Declaration in Support of Plaintiff’s Motion for a Temporary
Restraining Order and Preliminary Injunction filed on July 29, 2019 for a more detailed discussion
concerning the specific damages and injuries he will suffer with respect to his                        ,
if the requested relief is not granted.
                                                   5
       Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 13 of 38



960 F. Supp. 552, 558 (D. Conn. 1997) (plaintiff demonstrated irreparable harm where, if

preliminary injunction not granted, plaintiff’s education would be interrupted and delayed, perhaps

for years); Maczaczyj v. State of N.Y., 956 F. Supp. 403, 408 (W.D. N.Y. 1997) (plaintiff showed

irreparable harm where, in absence of injunction, he would not be able to participate in his master’s

program, which would likely affect ability to engage in future employment of his choice and would

have an unquantifiable effect on his mental health).

       Based on the foregoing, Plaintiff has adequately demonstrated that, absent the granting of

an injunction, he will be irreparably harmed, particularly with respect to his

      . Accordingly, Plaintiff satisfies this prong of his request for injunctive relief.

       B.      Plaintiff is Likely to Succeed on the Merits of his Claims.

            1) Title IX – Erroneous Outcome

       Title IX provides, in relevant part, that “[n]o person in the United States shall, on the basis

of sex, be excluded from participation in, be denied the benefits of, or be subjected to

discrimination under any educational program or activity receiving Federal financial assistance.”

20 U.S.C. § 1681(a). Title IX may be violated by a school’s failure to prevent or remedy sexual

harassment or sexual assault, Davis v. Monroe Bd. Of Education, 526 U.S. 629 (1999), or by the

imposition of university discipline where gender is a motivating factor in the decision to discipline,

Yusuf v. Vassar College, 35 F.3d 709, 715 (2d Cir. 1994). In either case, the statute is enforceable

through an implied private right of action. Yusuf, 35 F.3d at 714.

       Yusuf classified challenges to university disciplinary proceedings based on sex

discrimination as falling in two categories: (1) “erroneous outcome” cases, in which “the claim is

that plaintiff was innocent and wrongly found to have committed an offense”; and (2) “selective

enforcement” cases, in which “the claim asserts that, regardless of the student’s guilt or innocence,


                                                   6
      Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 14 of 38



the severity of the penalty and/or decision to initiate the proceeding was affected by the student’s

gender.” 35 F.3d at 715.

       According to Yusuf, for either kind of claim, the plaintiff must plead and prove that conduct

was discriminatory; for an “erroneous outcome” case, the plaintiff must allege (1) “particular facts

sufficient to cast some articulable doubt on the accuracy of the outcome of the disciplinary

proceeding” and (2) “particular circumstances suggesting gender bias was a motivating factor

behind the erroneous findings,” such as (but not only) statements by disciplinary tribunal members

and university officials and patterns of decision-making. 35 F.3d at 715.

       An “erroneous outcome” occurred in this case because Plaintiff was innocent and wrongly

found to have committed sexual assault and gender bias was a motivating factor. Plaintiff easily

satisfies the first prong of the erroneous outcome analysis. Facts casting much more than

“articulable doubt” on the accuracy of the outcome are described in detail above, but such facts

include, without limitation:

       a) Doe was not given an opportunity to confront his accuser, even though the finding came
          down to an assessment of which party’s version of events was more credible. This fact
          alone casts some articulable doubt on the accuracy of the outcome. See Doe v. Baum,
          903 F.3d 575, 585–86 (6th Cir. 2018).

       b) The Investigators overlooked the unambiguous evidence that Roe consented to sexual
          intercourse with Doe: (i) she consented to the removal of her shorts and assisted Doe
          in doing so; (ii) Roe stated “I know you want to do it”; (iii) Roe asked Doe to get a
          condom; (iv) Roe held her underwear to the side and told him to “Do it”; (v) Roe gave
          verbal instructions during the penetration, such as “go slow” and “hold it there”; and
          (vi) Roe agreed to switch positions, then turned over onto her stomach.

       c) The Investigators disregarded a text message Roe sent to her friend the morning after
          the encounter wherein she conceded that the encounter was consensual, stating: “it was
          fine.” Instead, they adopted Roe’s revisionist explanation that she meant to state “it’s
          fine”, as a way to suppress something that was bothering her.

       d) While concluding that Roe was highly intoxicated to the point of being unable to make
          informed, rational judgments and decisions (citing in the Report to 22 distinct reasons
          why the Investigators believe she was incapacitated) the Investigators nonetheless
          credit her account as being more reliable than Doe’s.
                                                 7
      Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 15 of 38




       e) In her first interview, Roe disputed that she consented to any aspect of the sexual
          encounter. Yet, in her second interview, she conceded that she agreed to go into Doe’s
          room, consented to “making out” with Doe, that she “probably” instructed Doe to kiss
          her neck, and that she “did lift up her back so that he could pull her shorts off,” all of
          which corroborated Doe’s account. These significant inconsistencies in Roe’s
          statements were never considered by the Investigators when assessing her credibility.

       f) BC failed to re-open the investigation to interview Witness        In Doe’s appeal, he
                                                                         Roommate 1



          noted that after the conclusion of the investigation process, he had become aware of
          new evidence that directly bore on the issue of Roe’s consent to sexual activity.
          Specifically,      confided in Doe that he had heard unambiguous signs of consensual
                        Roommate 1



          sex from the common area of the suite at the time of the relevant sexual activity.

       Each of the foregoing casts sufficient doubt on the outcome of the proceeding, to satisfy

the first prong of the erroneous outcome analysis. See Yusuf, 35 F.3d at 715 (“a complaint may

allege particular evidentiary weaknesses behind the finding of an offense such as a motive to lie

on the part of a complainant or witnesses, particularized strengths of the defense, or other reason

to doubt the veracity of the charge. A complaint may also allege particular procedural flaws

affecting the proof.”); Doe v. Miami Univ., 882 F.3d 579, 592 (6th Cir. 2018) (articulable doubt

cast by arguing that administrative hearing panel did not sufficiently analyze evidentiary

inconsistencies); Norris v. Univ. of Colorado, Boulder, 362 F. Supp. 3d 1001, 1011 (D. Colo.

2019); Doe v. Marymount Univ., 297 F.Supp.3d at 585–86 (articulable doubt cast by noting a

combination of: (1) procedural deficiencies; (2) an adjudicator’s decision lacking compelling

evidence; and (3) inconsistency in accuser’s statements)).

       Second, particular circumstances suggest that gender bias was a motivating factor behind

the erroneous findings and the decision to impose an unjustly severe penalty upon Plaintiff. These

circumstances include, inter alia:

       a) Upon concluding that the evidence did not support a finding of the violation with which
          Doe was initially charged (non-consensual sexual contact due to incapacitation), the
          Investigators unilaterally changed the charge against Doe, after the investigation had
          been concluded, without providing advance notice of this new charge, or allowing Doe
          an opportunity to contest it before a final decision was issued.
                                                8
      Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 16 of 38




       b) The failure to afford Doe the requisite presumption of innocence; BC’s Policy
          repeatedly uses the term “victim” (more than 40 times) when referring to the reporting
          party/complainant.

       c) The Investigators misapplied the preponderance of the evidence standard when they
          found Roe’s account of the events to be more credible than Doe’s despite the clear
          evidence refuting her statements, and the various inconsistencies that should have
          called her account into question.

       d) The Investigators disregarded the clear indications of consent expressed by Roe on the
          grounds that Doe failed to essentially cross-examine Roe on these particular points
          during their conversation of December 7 (4 weeks after the encounter, and after Roe’s
          report had been filed).

       e) The Investigators deemed Roe’s recollection of the events more credible than Doe’s,
          while simultaneously concluding that Roe was highly intoxicated to the point of being
          unable to make informed, rational judgments and decisions.

       f) The College condoned Roe’s reporting to Doe’s             that someone on the         had
          sexually assaulted her. This disclosure occurred before a formal complaint was filed,
          and before Doe had the opportunity to appear for a first interview to present his account
          of the events.

       g) While the Investigators discussed Roe’s demeanor when speaking with her roommates
          about the alleged incident, they excluded information concerning Doe’s reaction to
          learning of these false charges; i.e. being shocked, scared, upset, and appearing as
          though he was going to vomit.

       The foregoing demonstrates how a bias against Doe as the male accused led to the

erroneous finding.

       In Doe v. Brandeis Univ., 177 F.Supp.3d 561, 572–73 (D. Mass. 2016), the court

recognized that universities across the country have adopted “procedural and substantive policies

intended to make it easier for victims of sexual assault to make and prove their claims and for the

schools to adopt punitive measures in response.” Boston College similarly took steps in response

to the issuance of the Dear Colleague Letter, to demonstrate its aggressive stance against sexual

assault on campus, with the intent of making the reporting of assaults more easily available to

members of the community. Recognizing an increase in the number of reported sexual assaults on

                                                9
       Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 17 of 38



campus in 2013, the College revised its Student Sexual Misconduct Policy and the investigative

process, in October 2014. Prior to 2014, the investigative process for all conduct matters including

those involving sexual misconduct, included the right to have one’s case heard before a neutral

panel, and the opportunity to introduce evidence and call witnesses. On information and belief, the

removal of these procedural safeguards has led to more findings of responsibility, and all students

that have been suspended and expelled from BC for sexual assault have been male.

        Based on the facts as alleged in the Complaint, Plaintiff is likely to succeed on the merits

of his Title IX claim.

            2) Breach of Contract

        Plaintiff satisfies the second prong for a preliminary injunction, as he is also likely to

succeed on the merits of his breach of contract claim. It is well settled that “‘the basic legal relation

between a student and a private university or college is contractual in nature.’” Johnson v. Schmitz,

119 F. Supp.2d 90, 93 (D. Conn. 2000), quoting Ross v. Creighton University, 957 F.2d 410 (7th

Cir. 1992); accord Burns v. Quinnipiac University, 120 Conn. App. 311, 320, 991 A.2d 666 (2010)

(same). “The terms of the contract may include statements provided in student manuals and

registration materials.” Mangla v. Brown Univ., 135 F.3d 80, 83 (1st Cir.1998).

        Under Massachusetts law, to prove a breach of contract the plaintiff must demonstrate that:

1) “there was an agreement between the parties”; 2) “the agreement was supported by

consideration”; 3) “the plaintiff was ready, willing, and able to perform his or her part of the

contract”; 4) “the defendant committed a breach of the contract”; and 5) “the plaintiff suffered

harm as a result”. Viken Detection Corp. v. Videray Techs. Inc., No. CV 19-10614-NMG, 2019

WL 2491618, at *6 (D. Mass. June 14, 2019), quoting Bulwer v. Mount Auburn Hosp., 473 Mass.

672, 46 N.E.3d 24, 39 (2016).


                                                   10
       Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 18 of 38



       Here, the contract is formed by Boston College’s Student Sexual Misconduct Policy and

other documents it distributes to its community concerning sexual misconduct. Together, these

materials constitute BC’s contract with Plaintiff, and the standard for interpreting the contract is

that of “reasonable expectation,” i.e., “what meaning the party making the manifestation, the

university, should reasonably expect the other party to give it.” Doe v. Brandeis Univ., 177 F.3d

561, 594 (D. Mass. Mar. 31, 2016); Doe v. Brown Univ., 166 F.Supp.3d 177 (D. R.I. 2016) (same).

See also Havlik v. Johnson & Wales Univ., 509 F.3d 25, 34 (1st Cir. 2007) (whether the “process

[was] carried out in line with [the Plaintiff] student’s reasonable expectations”); Travelers Casualty

& Surety Co. of America v. The Netherlands Ins. Co., 312 Conn. 714, 740 (2014) (any ambiguity

in contract is construed in accordance with reasonable expectations of non-drafting party when that

party entered into the contract).

       Plaintiff applied to and enrolled at BC and paid associated fees and expenses. Plaintiff did

so in reliance on the understanding and with the reasonable expectation that BC would implement

and enforce the provisions and policies set forth in its official publications, including the Student

Sexual Misconduct Policy. An express contract or, alternatively, a contract implied in law or in

fact was formed between Plaintiff and BC. The contract contained an implied covenant of good

faith and fair dealing that required any proceedings be conducted with basic fairness. See Doe v.

Trustees of Bos. Coll., 892 F.3d 67, 87 (1st Cir. 2018) (“the implied covenant of good faith and

fair dealings imposed on every contract by Massachusetts law, applied in the context of school

disciplinary proceedings, creates an independent duty to provide basic fairness.”)

       A number of recent lawsuits challenging the failure to adhere to university procedures have

survived preliminary motions as federal courts expressed concern about the failure of schools to

comply with their own procedures. See e.g, Doe v. Amherst College, 238 F.Supp.3d 195, 217-218

(D. Mass. 2017) (denying motion for judgment on pleadings for breach of contract for school
                                                 11
       Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 19 of 38



policies enacted due to OCR pressure); Naumov v. McDaniel College, Inc., No. GJH-15-482, 2017

WL 1214406, 2017 U.S. Dist. LEXIS 49887, at *29 (D. Md. Mar. 31, 2017) (rejecting argument

that April 4, 2011 Dear Colleague Letter required breach of college handbook); Collick v. William

Paterson Univ., No. 16-471 (KM) (JBC), 2016 WL 6824374, 2016 U.S. Dist. LEXIS 160359, at

*69-70 (D.N.J. Nov. 17, 2016) (“the Complaint sufficiently alleges that Defendants did not adhere

to [the school’s] own rules, that the procedure they followed was unfair, and that the decision was

not based on sufficient evidence”); Doe v. Brandeis Univ., 177 F. Supp.3d 561, 600 (D. Mass.

2016) (“the Court concludes that the complaint plausibly alleges that [the school] did not provide

‘basic fairness’ to” accused student); Doe v. Lynn Univ., Inc., 235 F.Supp.3d 1336, 1342 (S.D. Fla.

2017) (plaintiff stated valid claims for of contract and breach of the implied covenant of good faith

and fear dealing in connection with sexual assault investigation); Doe v. Syracuse Univ., 2019 WL

2021026, at *11 (N.D.N.Y. May 8, 2019) (Plaintiff adequately pleaded breach of contract claim

when specifically referred to “expressly enumerated conditions and rights”).

       Here, Defendants committed several breaches of their agreements with Plaintiff during the

investigation process. A non-exhaustive list of Defendants’ breaches includes the following:

               a. Failure to provide fundamental fairness.

       Boston College’s Code of Student Conduct provides that “The student conduct system

exists to protect the rights of the Boston College community and assure fundamental fairness to

the complainant and to the respondent.” Notwithstanding, BC deprived Doe of fundamental

fairness in the investigatory process when it (1) deprived Doe of proper notice of the charges; (ii)

did not provide him an opportunity to confront or cross-examine his accuser or witnesses; (iii)

denied Doe access to all evidence until after he had already been interviewed; (iv) deprived him

of an effective appeal; and (v) failed to ensure an independent investigation process when it



                                                 12
      Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 20 of 38



permitted two individuals to serve in the roles of investigator and adjudicator. See discussion

concerning “Breach of Contract/Common Law Denial of Basic Fairness” infra.

               b. Failure to conduct a thorough and impartial investigation.

       The Policy states “For sexual misconduct complaints reported to the Office of the Dean of

Students or when the University otherwise determines a thorough investigation and/or conduct

action is appropriate, the University…will conduct an investigation of the complaint.”

Notwithstanding, BC failed to conduct a thorough and impartial investigation of the complaint

against Doe, in violation of its own policies and fundamental fairness.

       Specifically, the Investigators refused to examine Roe’s narrative in the same manner in

which they examined what Doe said. While the Investigators took a critical eye to much of what

Doe offered (as well as the information provided by some of his witnesses), they were utterly silent

on a number of critical inconsistencies and omissions made by Roe. For instance, in her first

interview, Roe disputed that she consented to any aspect of the sexual encounter. Yet, in her second

interview, she conceded that she agreed to go into Doe’s room, consented to “making out” with

Doe, that she “probably” instructed Doe to kiss her neck, and that she “did lift up her back so that

he could pull her shorts off,” all of which corroborated Doe’s account. These significant

inconsistencies were never considered by the Investigators when assessing Roe’s credibility.

       BC further failed to conduct a thorough and impartial investigation when it refused to re-

open the investigation to interview Roommate 1   In Doe’s appeal, he noted that after the conclusion

of the investigation process, he had become aware of new evidence that directly bore on the issue

of Roe’s consent to sexual activity. Specifically,    Roommate 1
                                                                   confided in Doe that he had heard

unambiguous signs of consensual sex from his location in the common area of the suite at the time




                                                 13
                 Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 21 of 38



of the relevant sexual activity.2 Though the foregoing was unquestionably directly material to the

determination of whether Roe did in fact consent to sexual intercourse, the College disregarded

this previously unavailable new evidence.

                 Despite the delayed disclosure of this critical information, the failure of the College to take

every step possible to ensure a correct finding, given the severe ramifications to one of its students,

resulted in a process that was neither thorough nor impartial.

                        c. Incorrect application of the relevant standard of review.

                 BC’s Policy specifies that the “Investigator’s findings as to the responsibility of the

respondent will be made using the preponderance of the evidence standard. This standard requires

that the information supporting a finding of responsibility be more convincing than the information

in opposition to it.” Yet, the Investigators violated this provision when they misapplied the

preponderance of the evidence standard, to find Roe’s account of the events more credible than

Doe’s despite the clear evidence refuting her statements, and the various inconsistencies that

should have called her account into question.

                 First, while concluding that Roe was highly intoxicated to the point of being unable to

make informed, rational judgments and decisions (citing in the Report to 22 distinct reasons why

the Investigators believe she was incapacitated) the Investigators nonetheless credited her account

as being more reliable than Doe’s. There is no rational explanation for this credibility assessment,

when it is undisputed that Doe was not intoxicated during the relevant events.

                 Second, in her first interview, Roe disputed that she consented to any aspect of the sexual

encounter. Yet, in her second interview, she conceded that she agreed to go into Doe’s room,




2
       had not disclosed this information to the Investigators during his interview, due to their hostile
    Roommate 1



questioning of him despite his role as a neutral witness, and for fear of getting into trouble himself, or being
perceived as having some prurient intent.
                                                           14
       Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 22 of 38



consented to “making out” with Doe, that she “probably” instructed Doe to kiss her neck, and that

she “did lift up her back so that he could pull her shorts off,” all of which corroborated Doe’s

account. These significant inconsistencies in Roe’s statements were never considered by the

Investigators when assessing her credibility. In contrast, the Investigators treated the fact that Doe

could not specifically recall whether his wallet containing the condom was located on his desk or

in his wardrobe, months after the alleged incident date, as a significant discrepancy, supporting

their determination that Doe’s account was not reliable and that therefore, Roe did not consent to

sexual intercourse.

       Third, in her first interview, Roe claimed that she did not know if Doe used a condom

during their encounter. During the second interview, Roe stated that she vaguely remembered some

conversation about condoms but could not recall what was said. Again, it is unclear how an

impartial investigator could arrive at the conclusion that Roe’s account was more credible when

she provided inconsistent testimony on key points of her complaint.

       Fourth, the Investigators erroneously overlooked the unambiguous evidence that Roe

consented to sexual intercourse with Doe: (i) she consented to the removal of her shorts and

assisted Doe in doing so; (ii) Roe stated “I know you want to do it”; (iii) Roe asked Doe to get a

condom; (iv) Roe held her underwear to the side and told him to “Do it”; (v) Roe gave verbal

instructions during the penetration, such as “go slow” and “hold it there”; and (vi) Roe agreed to

switch positions, then turned over onto her stomach. The combination of the foregoing factors,

when considered by any reasonable and properly trained investigator, could only lead to the

conclusion that Roe consented to sexual intercourse with Doe. Yet, each of these clear verbal and

non-verbal indications of consent were bewilderingly explained away by the Investigators. They

reasoned that Doe’s failure to essentially cross-examine Roe on these particular points during their

conversation of December 7 (4 weeks after the encounter, and after Roe’s report had been filed)
                                                 15
       Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 23 of 38



established that each of these actions were unlikely to have actually occurred. Had the Investigators

applied the correct standard of review, they would have reached the only plausible conclusion-

that Roe consented to sexual activity with Doe.

                d. Violation of Confidentiality.

        BC’s policies afford confidentiality to those involved in an investigation, assuring that all

parties “respect the right of confidentiality of other participants” in the process, and affirm that the

“unauthorized disclosure of confidential information by participants to persons not involved in the

[adjudication] process…may be dealt with as a subsequent charge…” Notwithstanding, Doe’s

right to confidentiality was violated when, with the approval of the College, Roe reported to his

       that someone on the           had sexually assaulted her. This disclosure occurred before a

formal complaint was filed, and before Doe had the opportunity to appear for a first interview to

present his account of the events. With only three                on the       , his       was readily

able to determine that Doe was the one accused, and called Doe into his office to ask him about

the situation the day before his first interview. Approximately one week later, the              held a

meeting with the entire         , during which he generally addressed the issue of consent, and

provided a warning about the meaning of consent.

        At no time did BC take any action in response to Roe’s disclosure of this confidential and

highly private information to a third-party. This action on the part of Roe, and inaction on the part

of the College, illustrated the College’s bias against Doe, and predetermination of his guilt. There

is no other logical explanation for the College allowing someone who alleges a claim of sexual

assault to disclose that allegation to an               , prior to the accused having any opportunity

to defend himself. The foregoing constituted a clear violation of his rights to confidentiality and

privacy in the process.



                                                  16
      Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 24 of 38



               e. Breach of the obligation to presume Doe innocent of the charges and assign
                  the burden of proof to the University.

       BC’s Policy does not include a provision that specifically addresses the presumption of

innocence, or which party is assigned the burden of proof. However, both the accused’s right to

fundamental fairness and the implied covenant of good faith and fair dealing required that Doe be

presumed innocent, and that the College have the burden of proof to establish otherwise. BC

violated this obligation when it presumed Doe guilty from the outset and operated from the

presumption that Doe was responsible for a violation of the College’s Policy.

       BC’s presumption of Doe’s guilt was apparent when the Investigators, upon discovering

that the evidence did not support a finding of the violation for which Doe was charged, changed

the charge against him in order to ensure some finding of responsibility. The Investigators

unilaterally changed the charge against Doe, after the investigation had been concluded, without

providing advance notice of this new charge, or allowing Doe an opportunity to contest it before a

final decision was issued.

       Further demonstrating the College’s failure to afford accused students the requisite

presumption of innocence, BC’s Policy repeatedly uses the term “victim” (more than 40 times)

when referring to the reporting party/complainant. However, “[w]hether someone is a ‘victim’ is

a conclusion to be reached at the end of a fair process, not an assumption to be made at the

beginning.” Doe v. Brandeis Univ., 177 F. Supp. 3d 561, 573 (D. Mass. 2016).

       The foregoing reveals a process in which Doe was presumed guilty from the time the

complaint was received, and the investigation was conducted to reach this predetermined result.

               f. The Investigators failed to complete the investigation within 60 days.

       BC’s Policy provides that the College will endeavor to complete its investigation within

60 days and will keep the parties apprised of when the investigation will continue beyond that time

                                                17
       Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 25 of 38



frame. Notwithstanding, the investigation and adjudication took nearly eight months, far more than

the 60 days indicated in BC’s Policy.

       Roe alerted BC officials on November 7 of her allegation and informed BC she wanted to

go forward with an investigation on December 7, 2018. Doe was not interviewed until January 29,

2019, 53 days after Roe alerted the school she wanted to proceed with an investigation, and 83

days after the sexual encounter. This was particularly problematic in that Doe’s recollection about

minor details (i.e. whether he retrieved the condom from his wardrobe or his desk) were assigned

great significance in the Investigators’ ultimate decision as to which party was more credible.

       On March 27, 2019 Doe received a “Timeline Update” from Dean O’Driscoll in which she

anticipated the Evidence Binders would be available at the “beginning of next week.” However,

after being given access to the binder and submitting his response, the next notice Doe received

about the progress of the Report was on May 1. Doe was told that they were working on the Report

and that he would be alerted after finals. His finals ended on May 10. He finally received the

Report on June 18. Notably, the Investigators took the entire time the Code allows for them to

complete an investigation (60 days) to write the Report.

       The foregoing violations, individually and in the aggregate, resulted in a process that was

neither fair nor impartial, ultimately contributing to an erroneous finding against Doe and the

resultant damages to his academics and professional                       . Consequently, Doe has

established the likelihood of success on his breach of contract claim.

       3) Breach of Contract/Common Law Denial of Basic Fairness

       Plaintiff is also likely to succeed on the merits of his third cause of action- breach of

contract/common law denial of basic fairness. Massachusetts courts recognize that a private

university may not act “arbitrarily or capriciously” in disciplining a student. Doe v. Brandeis Univ.,

177 F. Supp. 3d 561, 600 (D. Mass. 2016). Specifically, “[s]chool disciplinary hearings must be
                                                 18
       Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 26 of 38



“conducted with basic fairness.” Cloud v. Trustees of Boston University, 720 F.2d 721, 725 (citing

Coveney v. President & Trustees of Holy Cross College, 445 N.E.2d 136, 139 (1983); Schaer v.

Brandeis University, 432 Mass. 474, 481, 735 N.E.2d 373, 380 (2000). The California Court of

Appeal, Second District similarly discussed the requirements of a fair hearing in the private

university disciplinary context in Doe v. Allee (30 Cal. App. 5th 1036, 1061, 242 Cal. Rptr. 3d

109, 130 (Ct. App. 2019)). The Court in Allee affirmed that “[f]or practical purposes, common law

requirements for a fair disciplinary hearing at a private university mirror the due process

protections at public universities.” Accordingly, “when a private university student faces serious

discipline for alleged sexual misconduct, and the credibility of witnesses is central to the

adjudication of the charge, fundamental fairness requires that the university must at least permit

cross-examination of adverse witnesses at a hearing in which the witnesses appear in person or by

some other means…before one or more neutral adjudicators with the power independently to judge

credibility and find facts.” Id.

        Boston College’s obligation to provide basic fairness in its proceedings is separate from

and in addition to its contractual obligation to follow the rules it set forth in its policies. Doe v.

Brandeis Univ., 177 F. Supp. 3d 561, 601 (D. Mass. 2016). Thus, Defendants had a duty, either

under an express or implied contract or as a matter of common law, to ensure that the proceedings

against Plaintiff were conducted in good faith and with basic fairness.

        While “’Basic fairness’ is an uncertain and elastic concept, and there is little case law to

serve as guideposts in conducting the fairness inquiry” (Doe v. Brandeis Univ., 177 F. Supp. at

601), “there are two principal threads to the “fairness” inquiry. The first is procedural fairness—

that is, whether the process used to adjudicate the matter was sufficient to provide the accused

student a fair and reasonable opportunity to defend himself. The second is substantive fairness—



                                                 19
      Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 27 of 38



that is, even if the procedure was fair, whether the decision was unduly arbitrary or irrational, or

tainted by bias or other unfairness. Doe v. Brandeis, 177 F.Supp. 3d at 602.

               a) Failure to provide proper notice of the charges.

       Fair process requires that an accused be notified of the allegations against him. Goss v.

Lopez, 419 U.S. 565 (1975); Doe v. Brandeis Univ., 177 F. Supp. 3d 561, 603 (D. Mass. 2016).

Notwithstanding, Doe was ultimately found responsible for conduct in violation of BC’s Policy

that differed from the alleged violation with which he was initially charged.

       In the January 23, 2019 Notice to Appear, Dean O’Driscoll advised that he was under

investigation for engaging in non-consensual sexual contact with Roe while she was incapacitated,

and pointed to the relevant policy sections that were implicated by these allegations. Based on this

notice, Doe understood the charges against him to relate to an allegation that Roe was unable to

consent due to her incapacitation at the time of the sexual encounter. The letter outlining the

charges against Doe was clearly based on the evidence collected during the Investigators’ two

interviews with Roe, which had spanned over nearly three and a half hours, on January 14 and

January 18. Based on the information obtained in those interviews, Dean O’Driscoll sent to Doe

the notification of charges the following week.

       There was no question, as outlined in the January 23 letter, that the investigation revolved

around whether Roe was incapacitated and thus, unable to consent. This fact was confirmed by the

Investigators’ focus on this issue throughout witness interviews. Numerous people who were

present at a party Roe attended before her interactions with Doe were interviewed to discuss this

particular issue. Her roommate, with whom she interacted immediately before seeing Doe at

     , was interviewed. People with whom she interacted at                      and afterwards were

interviewed. The interview notes of all of these people almost exclusively centered around whether

or not Roe was incapacitated.
                                                  20
      Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 28 of 38



       In fact, the Investigatory Report itself reiterated that the investigation involved non-

consensual activity “all while (Roe) was incapacitated and therefore unable to consent to sexual

interaction.” Accordingly, based on Doe’s understanding of the charges against him, as presented

by both Dean Kelly and Dean O’Driscoll, he approached his two investigatory interviews with the

objective of disputing Roe’s claims that she was incapacitated and thus, unable to consent to sexual

activity. However, in issuing their findings, the Investigators cleared Doe of those allegations,

changed the theory of the case without providing him notice, and instead found him responsible

for allegations supported by different policy sections. At the conclusion of the investigation, Doe

was cleared of the charge alleging Roe was unable to consent due to incapacitation. The

Investigatory Report specifically found that he “neither knew, nor reasonably should have known,

that [Roe] was incapacitated by alcohol during his sexual interaction with her.”

       Nonetheless, the Investigators abandoned the theory they had charged him with and then

found him responsible for an allegation that was not supported by sufficient evidence. Recognizing

their error, the Investigators attempted to address this change in the charge in the Report. They

noted that they exonerated Doe of the incapacitation charge, but then argued that this exoneration

“meant that the Investigators had to consider whether [Roe] provided [Doe] with the consent that

the Policy requires to be present in every sexual interaction between individuals within its scope.”

       This assertion disingenuously suggests that the investigative process was divided into two

parts: first, to determine whether a reasonable person in his position would have understood her to

be incapacitated and second, whether Roe consented. This was not the case. After interviewing

Roe for over three hours, the Investigators and/or Dean Kelly concluded that the only viable charge

against Doe was under an incapacitation theory. However, after completing the investigation, and

discovering that the evidence irrefutably revealed Roe did not appear to numerous people as

though she was incapacitated, the Investigators asserted that their investigation must follow some
                                                21
       Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 29 of 38



undefined two-step process wherein, after the evidence fails to support the actual charge, it

somehow defaults to a more general inquiry as to consent. Nowhere in the Policy is there authority

for such an approach. In fact, Dean Kelly’s letter reveals the opposite is true as it specifically

stated: “(i)f during the investigation there are additional allegations, we would provide an updated

notice to you.” At no time did Doe receive such an updated notice.

        Had Doe been made aware, prior to appearing for an interview and formulating his defense

to the charges, that the central issue in dispute concerned not whether Roe was unable to consent

due to alcohol incapacitation but instead, whether or not she consented to the activity, he would

have taken a different approach to his defense- for instance, highlighting the specific words and

actions that demonstrated she was an active and willing participant, rather than focusing on the

behaviors that demonstrated she was not incapacitated.

        The Investigators’ decision to change the charge against Doe after the investigation had

been concluded, without providing advance notice of this new charge, or allowing Doe an

opportunity to contest it before a final decision was made was a clear violation of Doe’s rights to

a fair process.

                  b) Depriving Doe of an opportunity to confront or cross-examine his accuser.

        BC deprived Doe of basic fairness when it did not permit him an opportunity to confront

or cross-examine his accuser, either directly or through counsel. See Doe v. Brandeis Univ., 177

F. Supp. 3d 561, 604–05 (D. Mass. 2016) (“In the famous words of John Henry Wigmore, cross-

examination is “beyond any doubt the greatest legal engine ever invented for the discovery of

truth.” 3 Wigmore, Evidence § 1367, p. 27 (2d ed. 1923)).

        The ability to cross-examine is most critical when the issue is the credibility of the accuser.

See Donohue v. Baker, 976 F.Supp. 136, 147 (N.D.N.Y.1997) (“[I]f a case is essentially one of

credibility, the ‘cross-examination of witnesses might [be] essential to a fair hearing.’ ”) (quoting
                                                  22
       Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 30 of 38



Winnick v. Manning, 460 F.2d 545, 550 (2d Cir.1972)).”) See also Univ. of Cincinnati, 872 F.3d

393, 401 (6th Cir. 2017) (“Few procedures safeguard accuracy better than adversarial

questioning.”) As in Brandeis, here, “[t]he entire investigation thus turned on the credibility of the

accuser and the accused. Under the circumstances, the lack of an opportunity for cross-examination

may have had a very substantial effect on the fairness of the proceeding.” Doe v. Brandeis Univ.,

177 F. Supp. 3d at 605.

               c) Depriving Doe of an opportunity to cross-examine witnesses.

       For the same reasons articulated above, BC’s failure to permit Doe an opportunity to cross-

examine witnesses, either directly or indirectly, deprived him of a fair process.

               d) Failure to provide Doe access to all evidence collected.

       Prior to appearing for his first interview, the only information presented to Doe was the

initial Notice to Appear. Even though Roe had, as of January 23, 2019, appeared for two interviews

lasting more than three hours, BC’s Policy does not permit the Investigators to provide the

respondent with copies of a complainant’s interview summaries, any documentary evidence

gathered at that point, or other evidence collected.

       Instead, Doe was not permitted to review the evidence against him (aside from being

confronted with printouts of certain text messages he had never seen before in the midst of his

second interview on March 11, 2019), to which he was required to respond in the interviews, until

he was given access to the Evidence Binder on April 5, 2019. Though permitted to submit a

response to the Evidence Binder, the points raised in his submission were entirely disregarded

when the Investigators, unable to find him responsible for the initial charges, abandoned the

incapacitation argument and pursued a new theory of the case against him.




                                                 23
       Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 31 of 38



               e) Denial of the right to an effective appeal.

       Doe did not have the right to an effective appeal. BC limits appeals to two grounds: (1)

material procedural error that likely adversely affected the outcome; or (2) previously unavailable

information that likely would have affected the outcome. These narrow grounds deprive a student

found responsible for the charges of an opportunity to contest the finding on all available grounds,

despite the severe ramifications of a responsibility finding. See Doe v. Brandeis Univ., 177 F.

Supp. 3d 561, 607 (D. Mass. 2016) (“Conspicuously absent from that list is the ability to appeal

on the ground that the Special Examiner’s decision was not supported by the evidence, or that it

was otherwise unfair, unwise, or simply wrong.”)

       In Doe’s appeal, he described how BC engaged in substantial procedural errors including:

(i) BC failed to notify Doe of the allegations against him, when he was found responsible for

conduct in violation of the Policy that differed from the alleged violation with which he was

initially charged; (ii) the Investigators failed to complete the investigation within 60 days; (iii) the

Investigators misapplied the preponderance of the evidence standard; (iv) the Investigators

required Doe to prove his innocence rather than affording him a presumption of innocence; (v) the

Investigators did not examine whether the encounter was consensual as demonstrated through both

words and actions; (vi) the investigation was not thorough or impartial; (vii) Doe was not permitted

to review his accuser’s statements, witness statement or any evidence until after he had appeared

for two interviews; (viii) BC does not provide a hearing in cases of sexual misconduct while

providing hearings in other conduct matters; and (ix) BC failed to ensure confidentiality in the

process when it permitted Roe to discuss the allegations with Doe’s           . Further, Doe described

that he had recently become aware of new evidence that was not available to him during the

investigation process, which would affect the finding of non-consent- specifically, one of the



                                                  24
       Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 32 of 38



witnesses previously interviewed confided in Doe that he had been present in the suite during the

sexual encounter and had heard unambiguous signs of consensual sex from both parties.

       On July 24, 2019, Vice President for Student Affairs Joy Moore denied Doe’s appeal, on

the grounds that it did not state a valid ground for appeal in accordance with BC’s Policy. In

arriving at this decision, Vice President Moore overlooked each of Doe’s articulated procedural

arguments, reasoning that the points raised amounted to Doe’s personal views concerning how the

evidence was weighed, rather than procedural errors. She further concluded that regardless of any

such errors, the outcome would not have changed. Vice President Moore also declined to consider

the material information provided by Roommate 1       after the investigation process concluded as

“new evidence,” on the grounds that such information was “available” when     Roommate 1
                                                                                           was interviewed.

In this way, Vice President Moore penalized Doe for the Investigators’ failure to conduct a

thorough investigation in which they obtained all critical information from relevant witnesses.

       Second, Defendants breached the duty of good faith and basic fairness because they failed

to afford Doe substantive fairness when the College issued a decision that was unduly arbitrary

and irrational, and was tainted by bias or other unfairness. Doe v. Brandeis, 177 F.Supp. 3d at 602.

See discussion concerning Title IX- Erroneous Outcome infra.

       The investigation process and findings thus violated the contractual relationship.

Defendants’ breach of the duty to ensure basic fairness proximately caused Plaintiff to sustain

substantial injury, damage, and loss, including, but not limited to: mental anguish; severe

emotional distress; injury to reputation; past and future economic loss; deprivations of due process;

loss of educational opportunities; and loss of future career prospects.

               f) Failure to separate the investigation and adjudication process.

       BC’s Policy employs an investigative model whereby one or more internal and/or external

investigators interview the parties and witnesses, collect evidence, prepare a report, and make
                                                 25
       Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 33 of 38



findings of responsibility, which may only be challenged on very limited grounds. This failure to

separate out the investigation and adjudication functions results in a process that deprives an

accused of a fair process. This is so because “[t]he dangers of combining in a single individual the

power to investigate, prosecute, and convict, with little effective power of review, are obvious. No

matter how well-intentioned, such a person may have preconceptions and biases, may make

mistakes, and may reach premature conclusions.” Doe v. Brandeis, 177 F. Supp. at 606.

       Under the single (or in this case, dual) investigator model, as one federal district judge has

described the process, a single individual “is given complete authority to decide whether the

accused [is] ‘responsible’ for the alleged violations,” acting “simultaneously [as] the investigator,

the prosecutor, and the judge who determine[s] guilt.” Doe v. Brandeis Univ., 177 F. Supp. 3d

561, 579 (D. Mass. 2016). This model contrasts with the procedures employed by BC in non-

sexual misconduct related disciplinary matters where the accused is afforded a live hearing before

a hearing panel, with an opportunity to submit questions for his accuser.

       The investigator model has been criticized by judges and commentators because it is an

inquisitorial, as opposed to adversarial, process; it offers no checks or balances against investigator

bias, including unconscious sexual bias; it allows a single individual to act as prosecutor,

investigator, judge, and jury determining guilt; and it allows the investigator to find the accused

guilty without ever affording him a hearing where evidence can be confronted, witnesses

questioned, and the accuser cross-examined. Doe’s inability to present his case before an impartial

and separate adjudication panel substantially prejudiced him and may have adversely affected the

outcome. The foregoing constituted violations of Doe’s right to a fair process.

           4) Estoppel

       Plaintiff is also likely to succeed on his equitable estoppel claim. To establish a claim of

equitable estoppel in Massachusetts, a plaintiff must demonstrate: (1) a representation, or conduct
                                                  26
       Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 34 of 38



amounting to a representation, intended to induce a course of conduct on the part of the person to

whom the representation was made, (2) an act or omission resulting from the representation by the

person to whom the representation was made, and (3) detriment to the person as a consequence of

the act. Boutilier v. John Alden Life Ins. Co., 2000 WL 1752623, at *9 (D. Mass. Sept. 29, 2000).

       The Complaint describes that BC expected or should have expected Doe to accept its offer

of admission and offer to join its                    , incur tuition and fees expenses, and choose

not to attend other colleges based on its express and implied promises that BC would not tolerate,

and Doe would not suffer, discrimination or harassment by fellow students or faculty members

and would not deny Doe his procedural rights should he be accused of a violation of BC’s policies.

Doe did in fact rely to his detriment on these express and implied promises and representations

made by BC, by choosing to attend BC rather than other schools of equal caliber and paying the

required tuition and fees. Based on the foregoing, BC is liable to Doe based on Estoppel.

           5) Negligence

       Finally, Plaintiff is likely to succeed on the merits of his negligence claim. To recover in

an action for negligence in Massachusetts, the plaintiff must satisfy the elements of (1) a legal duty

owed by defendant to plaintiff; (2) a breach of that duty; (3) proximate or legal cause; and (4)

actual damage or injury. Doe v. Emerson Coll., 153 F. Supp. 3d 506, 514 (D. Mass. 2015). In

conducting its investigation and adjudication of Roe’s complaint against Doe, the College owed

Doe a common law duty to exercise reasonable care, with due regard for uncovering the truth,

applying the College’s fairly and impartially, appreciating the severity of the charges and potential

consequences, and in consideration of Doe’s fundamental rights to a fair process.

       Through the acts set forth above, the College breached its duty by carelessly, improperly,

and negligently performing its investigation and adjudication and facilitating a process that

violated the rights and interests of Doe.
                                                 27
       Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 35 of 38



       Specifically, the College has negligently trained and supervised the individuals it employs

to serve as investigators and adjudicators in Title IX disciplinary proceedings. Evidence of the

College’s negligent training and selection of its investigators was made apparent by, among other

things, the fact that, upon discovering that the evidence did not support a finding of a policy

violation, the Investigators decided to change the charge against Doe after the investigation had

been concluded, without providing advance notice of this new charge, or allowing Doe an

opportunity to contest it before issuing a final decision.

       Moreover, the College was negligent when it failed to take any action in response to a clear

violation of Doe’s right to confidentiality in the process. Specifically, Roe reported to Doe’s

that someone on the         had sexually assaulted her. This disclosure occurred before a formal

complaint was filed, and before Doe had the opportunity to appear for a first interview to present

his account of the events. This inappropriate disclosure was condoned by the College as Roe was

accompanied to this meeting by Senior Associate                                              .

       A non-negligent university conducting a Title IX disciplinary proceeding would have

ensured that its personnel were thoroughly familiar with its procedures and capable of carrying

them out in a fair and impartial manner to ensure a correct outcome.

       As a direct result of the College’s negligence, and as a direct and proximate cause thereof,

Doe has been seriously and irreparably damaged as follows: he has suffered mental anguish; severe

emotional distress; injury to reputation; past and future economic loss; deprivations of due process;

loss of educational opportunities; and loss of future career prospects.

   C. The Balance Of Hardships Tips Decidedly In Plaintiff’s Favor.

        Plaintiff satisfies the third prong for a preliminary injunction, which is that the balance of

hardships tips decidedly in Plaintiff’s favor. As noted above, without injunctive relief, Plaintiff

will lose an entire academic year, delaying his anticipated graduation date and postponing his
                                                 28
         Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 36 of 38



ability to earn an income. In addition, Plaintiff will lose his          on the BC                 , thus

eradicating his               eligibility and preventing him from ever being                by a

                         . He will also be unable to secure employment in another field or obtain

admission to a graduate school, as his transcript will be permanently marked with a notation of the

disciplinary suspension.

          Plaintiff faces severe hardships if injunctive relief is not granted. Thus, “in the absence of

a preliminary injunction [Plaintiff] will continue to suffer real, unavoidable consequences even if

he wins this suit.” King v. DePauw Univ., No. 2:14-CV-70-WTL-DKL, 2014 WL 4197507, at *14

(S.D. Ind. Aug. 22, 2014). In contrast, granting an injunction to reinstate Plaintiff places no real

hardship on BC. Throughout the course of BC’s 6 month’s long investigation process, Plaintiff

continued his studies, and remained on campus and on the                       without issue. The only

restriction BC placed upon him was a mutual Stay Away Order, which Plaintiff faithfully abided

by, also without issue. Consequently, his reinstatement would simply restore the status quo prior

to his suspension. If BC ultimately prevails on the merits, the Court can then direct that Doe serve

his suspension and that BC maintain Plaintiff’s disciplinary record in its files.

         Evidently, the balance of hardships tips decidedly in favor of granting the temporary

restraining order and preliminary injunctive relief. See King v. DePauw Univ., supra, 2014 WL

4197507,*14 (finding the balance of harm in student’s favor even though university has “interest

in enforcing its own rules of conduct”…because “the harm [university] will have suffered by

[student’s] court-ordered return to campus . . . , while real, will not be as great as the harm [student]

will have suffered if he is not permitted to return to campus but ultimately wins.”)

    D.       The Requested Injunction Is In The Public Interest.

         Plaintiff satisfies the fourth prong for a preliminary injunction, which is that the requested

injunction is in the public interest. What should be clear is that the public, as well as the parties
                                                29
       Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 37 of 38



involved in this lawsuit, have a shared interest in the fairness, reliability, and transparency of these

proceedings. See, e.g., Nancy Gertner, Complicated Process, 125 Yale L.J. Forum 442, 448-449

(2106) (“There is . . . ‘a real contest about where the line between sex and sexual violence or

harassment is, and as with all lines, there will be uncertainty over where some marginal cases fall.’

An administrative framework – the ‘sex bureaucracy’ – policing these lines with few procedural

protections, and less than transparently, raises . . . questions about fairness”).

        The regime of the April 4, 2011 Dear Colleague Letter led to campus sexual misconduct

tribunals where there is use of prosecutorial “investigation,” lack of reasoned decision-making,

presumption of male guilt, a failure to apply the burden of proof in fact, denial of meaningful

appeal, manifest bias against males and unfair hearings. That the public is not served by such

proceedings was recognized by Department of Education Secretary Betsy DeVos, who in vacating

the April 4, 2011 Dear Colleague Letter rightly denounced these proceedings as involving denials

of due process that are wholly un-American: www.ed.gov/news/speeches/secretary-devos-

prepared-remarks-title-ix-enforcement. Granting the requested temporary restraining order and

preliminary injunction in this case serves the public interest.

                                          CONCLUSION

        For the reasons stated above, the Court should grant a temporary restraining order and

preliminary injunction restraining Defendants from suspending Plaintiff from Boston College

pending the adjudication of the merits of the Complaint.

                         REQUEST FOR EVIDENTIARY HEARING

        PLAINTIFF HEREBY REQUESTS AN EVIDENTIARY HEARING ON THIS

MOTION.




                                                  30
     Case 1:19-cv-11626-DPW Document 12-1 Filed 07/29/19 Page 38 of 38



Dated: New York, New York
       July 29, 2019

                            Respectfully submitted,

                            NESENOFF & MILTENBERG, LLP
                            Attorneys for Plaintiff John Doe

                            By: /s/ Tara J. Davis
                            Andrew T. Miltenberg, Esq. (pro hac vice pending)
                            Stuart Bernstein, Esq. (pro hac vice pending)
                            Tara J. Davis, Esq. (BBO # 675346)
                            363 Seventh Avenue, 5th Floor
                            New York, New York 10001
                            (212) 736-4500
                            amiltenberg@nmllplaw.com
                            sbernstein@nmllplaw.com
                            tdavis@nmllplaw.com




                                     31
